991 F.2d 793
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Herbert G. WILKINS, Sr., Petitioner-Appellant,v.Patrick WHALEN, Warden, Respondent-Appellee.
    No. 92-7213.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  February 1, 1993Decided:  April 6, 1993
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Robert E. Payne, District Judge.  (CA-92-611-2)
      Herbert G. Wilkins, Sr., Appellant Pro Se.
      E.D.Va.
      DISMISSED.
      Before HALL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Herbert G. Wilkins, Sr., filed suit under 28 U.S.C.s 2241 (1988) and sought leave to proceed in forma pauperis.  The district court assessed a filing fee in accordance with  Evans v. Croom, 650 F.2d 521 (4th Cir. 1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Plaintiff failed to comply with the fee order.  Plaintiff appeals.  Finding no abuse of discretion, we deny leave to proceed in forma pauperis and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    